Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 1 of 37 PagelD #:494

Exhibit A
Case: 1:09-cv-00556 Document #: 35-2 Filed: Q2/27/09 Page 2 of 37 Page!D #:495
Order Form (01/2005) Case 1:07-cv-00250 Document13 Filed 04/26/2 07 Page 1 of 1

United States District Court, Northern District of Illinois

 

 

 

 

 

 

 

f Assigned J Sitting Judge if Oth
vamor Magistrate Judge Judge John F. Grady than Assigned Judge
CASE NUMBER 07 C 250 DATE April 26, 2007
CASE
TITLE Adiputra v. The Boeing Company
DOCKET ENTRY TEXT:

 

Rule 16 conference held in chambers. The case is set for a status conference on June 20, 2007 at 10:30 a.m.
Boeing will notice up a motion for relatedness which can be heard at that time. SEE BELOW FOR
DETAILS.

 

 

Docketing to mail notices

 

 

STATEMENT

 

Rule 16 conference held in chambers. This is a case arising out of an airplane crash in Indonesia which
resulted in many deaths and other injuries. Boeing and Pratt & Whitney (UTC) are the defendants, but Pratt
& Whitney has not yet been served and is not present at today’s conference. Service will be made within the
next few days and we will set a status conference for a time that will accommodate its time for answer.
Boeing indicates today that it may file a forum non conveniens motion to dismiss on the ground that the case
should be filed in Indonesia. There are two pending appeals before the 7" Circuit on the issue of forum non
conveniens, one of them involving an air crash. The discovery available to a plaintiff in Indonesia is
apparently quite limited in comparison to what is available in this country and therefore the court will not
encourage the parties to engage in any involuntary merits discovery until after any forum non conveniens
motion has been decided.

Boeing has a motion for a finding of relatedness between this case, the first filed, and a case pending
before Judge Andersen, Antoro.

The case is set for a status conference on June 20, 2007 at 10:30 a.m. Boeing will notice up a motion
for relatedness which can be heard at that time.

 

 

 

Page | of 1
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 3 of 37 PagelD #:496

Exhibit B
Case: 1:09-cv-00556 Document #: 35-2 Filed 02/27/09 4 of 37 PagelD.#:497
Case 7 O6-or 03560 Document BaD Eied 04/12/2009 * Bage 24!Bo

Case 1:06-cv-03439 Document4 Filed 07/18/2006 Page 1 of 2

Order Form (01/2005)

United States District Court, Northern District of Illinois

 

 

 

 

 

Name of Assigned Judge ; Sitting Judge if Other
or Magistrate Judee George W. Lindberg than Assigned J dee
CASE NUMBER 06 C 3439 DATE 7/18/2006
CASE In Re: Air Crash Near Athens, Greece on August 14, 2005

 

 

An initial status hearing is set for August 23, 2006, at 11:00 a.m. General procedures that will govern these
actions are set forth in this order.

Docketing to mail notices.

 

MA For further details see text below.]

 

STATEMENT

 

 

This order shall apply to actions transferred to this court by the Judicial Panel on Multidistrict
Litigation pursuant to its order of June 19, 2006, as well as all related cases later filed in, removed to, or
transferred to this court.

The clerk will maintain a master docket and case file under the name “In re Air Crash Near Athens,
Greece on August 14, 2005,” and master file number 06 C 3439. All papers filed in these actions shall bear
the master file number and the MDL docket number (MDL-1773). If generally applicable to all actions in
this multidistrict litigation, filings shall include in their caption the notation that they relate to “ALL CASES”
and be filed and docketed only in the master case file. Documents intended to apply only to particular cases
will indicate in their caption the case number of the case(s) to which they apply, and will be filed and
docketed both in the master case file and the specified individual case files.

Attorneys admitted to practice and in good standing in any United States District Court are admitted
pro hac vice in this litigation. Association of local co-counsel is not required.

Defendants are granted an extension of time for responding by motion or answer to the complaints
until a date to be set by the court. All orders by transferor courts imposing dates for pleading or discovery are
vacated. All outstanding disclosure and discovery proceedings are stayed and no further discovery shall be
initiated until otherwise ordered by the court. This order does not preclude voluntary informal discovery or
disclosures. Relief from this stay may be granted for good cause shown.

 

 

 

06C3439 In Re: Air Crash Near Athens, Greece on August 14, 2005 Page | of 2

 

 
 

Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 rags 5 of 37 > Bor 8 ‘498
Case 1:06-cv-03566 Document 52-2 Filed 01/12/200 Page
Case 1:06-cv-03439 Document 4 Filed 07/18/2006 Page S of 2

 

STATEMENT |

Each party shall preserve all documents and other records containing information potentially relevant
to the subject matter of this litigation. Each party shall also preserve any physical evidence or potential
evidence and shall not conduct any testing that alters the physical evidence without notifying opposing
counsel and, unless all parties stipulate to the test, without obtaining the court’s permission to conduct the
test.

 

 

The initial status hearing will be held for the purposes specified in Federal Rule of Civil Procedure
16(a)-(c). Counsel are expected to familiarize themselves with the Manual for Complex Litigation, and to be
prepared at the status hearing to suggest procedures that will facilitate the just, speedy, and inexpensive
resolution of this litigation. Counsel should be prepared to provide information about all related litigation
pending in other courts. Counsel should also be prepared to discuss the appointment of lead counsel for the
plaintiffs, a discovery schedule, and possible grounds for dispositive motions. Counsel may furnish
suggestions for additional items to be included on the agenda for the initial status hearing, by August 9, 2006.

 

 

 

06C3439 In Re: Air Crash Near Athens, Greece on August 14, 2005 Page 2 of 2

 

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 6 of 37 PagelD #:499

Exhibit C
Onder Form (GRASE. 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 7 of 37 PagelD #:500
United States District Court, Northern District of Illinois

 

 

 

 

 

Name of Assigned Jud: Sitting Judge if Oth
enor Magistrate Judge Joan H. Lefkow han Amigo Tadge
CASE NUMBER 06 C 3566 DATE 1/22/2007
CASE Vivas vs. The Boeing Company
TITLE

 

 
 

 

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Defendant Boeing’s oral motion to limit discovery to forum non conveniens issues is granted. All discovery
in this case is now stayed except for requests that are narrowly tailored to the issue of forum non conveniens.
If the currently pending motions to remand are resolved in defendants’ favor, the court will set a briefing
schedule for motions to dismiss.

 

 

Mi For further details see text below.] Notices mailed by Judicial staff.

   

STATEMENT

 

On December 12, 2006, Boeing made an oral motion to stay merits discovery in this consolidated case and to
limit initial discovery to forum non conveniens issues. The court gave the parties leave to submit letters with
case citations supporting their respective positions. Boeing submitted such a letter on January 12, 2007,
including eleven citations. The court has not received anything from plaintiffs.

Boeing’s position is strongly supported by the cases that it cites as well as by research that the court has
conducted. See, e.g., In re Bridgestone/Firestone, Inc., 131 F. Supp. 2d 1027, 1030 (S.D. Ind. 2001) (holding
that some discovery on facts relevant to forum non conveniens motions may be appropriate, but that
discovery should not proceed uncontrolled and should be limited by the court); Norex Petroleum Ltd. v.
Access Indus., Inc., 2003 WL 1484269 (S.D.N.Y. March 21, 2003) (same); Base Metal Trading, S.A. v.
Aluminum, 2002 WL 987257, at *3 (S.D.N.Y. May 14, 2002) (citations omitted) (“It is settled law that
sparring concerning preliminary issues should not be permitted to degenerate into a full-blown trial on the
merits. Accordingly, discovery concerning such issues as forum non conveniens and the need for comity
should be narrowly focused and ‘not call for detailed development of the entire case.””).

Without expressing any opinion on the merits of Boeing’s anticipated motion to dismiss, the court notes that
there is precedent for dismissing tort cases involving plane crashes that occurred abroad on forum non
conveniens grounds. See Piper Aircraft Co. v. Reyno, 454 U.S. 235, 102 S. Ct. 252, 70 L. Ed. 2d 419 (1981).
Therefore, staying merits discovery here pending resolution of that issue is prudent.

 

 

 

06C3566 Vivas vs. The Boeing Company Page 1 of 1

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 8 of 37 PagelD #:501

Exhibit D
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 9 of 37 PagelD #:502

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Statement of Release and Discharge from Legal Responsibility

("Release and Discharge")

On this day, Thursday, dated 1 March 2007, we, the undersigned:

1. Name : Sigit Wahjodjatmiko
Address: Bukit Ngaliyan Permai Blok L-4, Ngaliyan, Semarang
ID Card No.: 11.5015.251044.0001. :

2,Name _. : Emiliana Sri Muyekti
Address _: Tirtoyoso 3-8, Rejosari, Semarang Timur, Semarang
ID Card No.: 33,7403.580950,0001

3. Name : Yovita Indah Wahyuni
Address _; Jalan Maospati Buntu F 357, Beji, Ungaran, Semarang
ID Card No. : 33.2214.430751.0005

4, Name : T. Singgih Wahyono
Address _: Jalan. Karonsih Timur Gang V/119, Negaliyan, Semarang
ID Card No.: 33.7415:020353.0001

5, Name ; Andreas Sugih Wibewo
Address _: Jalan Srikaton Barat, Purwoyoso, Ngaliyan, Semarang
ID Card No.: 11,5015.120954.0004

. Name :R. Sugeng Cahyono
Address: Karonsih Timur IX/322, Nealiyan, Semarang
ID Card No.: 11.5015.230157.0001

7..Name : Kristiana Hesti Cahyani
Address _; Tirtoyoso 3-8, Rejosari, Semarang Timur, Semarang
ID Card No.: 33.7403.541 160.0001

8. Name : Hendricus Handono Warih
Address —_: Ikan Sepat 6/6, Perak Barat, Krembangan, Surabaya
FE) Card Ne. : 12.5625.221062.0002

9. Name : Mardonius Dono Pradipto
Address _; Parang Barong I No. 25, Telogosari Kulon, Pedurungan, Semarang
ID Card No.: 11.5006.090265.0001

10. Name : Florentina Wuri Handayani
Address _; Tirtoyoso III/8, Rejosari, Semarang Timur, Semarang
ID Card. No. : 33.7406.560267.0001

‘In this matter acting for ourselves;

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Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 10 of 37 PagelD #:503

 

as the beneficiaries of Ariston Setyo Widodo, a passenger (“Passenger”) who died in
the accident of PT. Adam SkyConnection Airlines' Boeing 737-4Q8 aircraft
(‘Aircraft’) operating as flight number KI] 574 from Surabaya to Manado, on 1
January 2007, near Sulawesi, Indonesia ("Accident"), based on the Beneficiary
Letter dated 27 January 2007 and the Statement Letter regarding Family Relations No.
No. 596/21/436.9.06/07 dated 29 January 2007 (hereinafter referred to as the
"Releasor").

The Releasor hereby states that they have fully received the Severance Payment and
Compensation in-the amount of Indonesian Rp. 828,000,000.- (eight hundred and
twenty eight million Rupiah), (hereinafter referred to as "Severance Payment and
Compensation") from PT. Adam SkyConnection Airlines ("AdamAir"), This
Severance Payment and Compensation is for and in consideration of and shall serve as
final and complete settlement of all and any past, present and future charges,
objections, claims, demands, obligations, liabilities, actions, cause and causes of
action, suits, damages, benefits, costs, losses of services, expenses, debts, dues, sums
of money, accounts, reckonings, bonds, bills, agreements and any form of agreements
including but not limited to contracts and promises, controversies, variances,
trespasses, judgments, executions, and any other claims and demands of any and
every kind and nature whatsoever, based on any prevailing Jaws and regulations,
whether for alleged or actual damages, punitive damages, material or immaterial
losses, wrongful death, survival actions, property losses, business losses, loss of
profits, injuries, or other losses or expenses, as well as all potential claims of
whatsoever kind or nature relating to any and all damages, injuries or other losses,
whether known or unknown, foreseen or unforeseen arising, which Releasor now has,
or claims to have, or which may hereafter accrue or otherwise be acquired, on account
of, or arising out of or will arise from or in connection with the death of the
Passenger, as a result of the Accident.

Upon receiving the Severance Payment and Compensation, the Releasor states the
following:
1. The Releasor agrees to release and forever renounce all of their rights to file,
bring legal proceedings of any kind, or to assert by any means past, present
and future charges, objections, claims, demands, obligations, liabilives,
actions, cause and eauses of action, suits, damages, benefits, costs, losses of
services, expenses, debts, dues, sums of money, accounts, reckonings,
- bonds, bills, agreernents and any form of agreements including contracts and
promises, controversies, variances, trespasses, judgments, executions, and
any other claims and demands of any and every kind and nature whatsoever,
based on any prevailing laws and regulations, whether for alleged or actual
damages, punitive damages, material or immaterial losses, wrongful death,
survival actions, property losses, business losses, loss of profits, injuries, or
other losses or expenses, as well as all potential claims of whatsoever kind or
nature relating to any and all damages, injuries or other losses, whether
known or unknown, foreseen or unforeseen arising, which the Releasor now
has, or claims to have, or which may hereafter accrue or otherwise be :
acquired, on account of, or in any way arising out of the Accident against or
which relates to AdamAir and any and all of its past, present and future Yip ll

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Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 11 of 37 PageID #:504

 

officers, directors, commissioners, shareholders, attorneys, agents, servants,
representatives, employees, subsidiaries, parent companies, affiliates,
partners, joint venturers, contractors and sub-contractors, brokers, insurers
and reinsurers; The Boeing Company, CFM International, General Electric
Company, GE-Aviation, General Electric Aircraft Engines, Snecma, Societe
Nationale d'Etude et de Construction de Moteurs d'Aviation, PT GMF
AeroAsia , Israel Aerospace Industries Ltd, Inertial Aerospace Services, Inc.,
Honeywell Inc, Honeywell International Inc, Honeywell Aerospace, PT
Pertamina (Persero), PT Garuda Indonesia, Smiths Aerospace, Smiths
Aerospace limited, Smiths Group ple, Pacific Instruments Inc, Pacific
Southwest Instruments, Rockwell Collins, Thomson-CSF Communications,
L-3. Communications Aviation Recorders, L-3 Communications
Corporation, Allied Signal, Hamilton Sundstrand, Panasonic Avionics
Corporation, Matsushita Electric Industrial Co., Ltd, United Technologies
Corporation, Thales Aerospace, Thales Group, Motorola Inc, Parker
Hannifin Corporation, Jeppesen Sanderson, Inc., Boeing Commercial
Aviation Services, Boeing Commercial Airplanes, and any person or
‘business entity who manufactured, designed, supplied, sold or installed any
part, component, or system which was on, a part of, or incorporated into the
Aircraft and its engines, and.any person or business entity who contracted or
sub-contracted for, or performed ground handling services of any kind,
maintenance, repairs, overhauling, service checks, refurbishment, training,
inspections, return to service, or installation of parts, components or systems,
at any time on the Aircraft and its engines, and any and all of their past,
present and future officers, directors, commissioners, shareholders,
attomeys, agents, servants, representatives, employees, subsidiaries, parent
companies, affiliates, partners, joint venturers, contractors and sub-
contractors, brokers, insurers and reinsurers; International Lease Pinance
Corporation, Wells Fargo Bank Northwest, National Association, Triton.
Aviation Finance, Triton Aviation International LLC, Triton Aviation
Investments LLC, Deutsche Bank Trust Company Americas, LAT [X Ine,
Jetscape Inc, Jetscape Leasing Inc, JAT Airways, any other person or
business entity who has or ever had an interest as a lessor, ownership
interest, security interest, trust. interest or financial interest in the Aircraft
and its engines, and any and all of their past, present and future officers,
directors, commissioners, shareholders, attorneys, agents, servants,
representatives, employees, subsidiaries, parent companies, affiliates,
partners, joint venturers, contractors and sub-contractors, brokers, insurers
and reinsurers, and any ether persons or business entities. who are or may be
alleged to be responsible for any liability arising from the Accident
(hereinafter individually and collectively referred to as the "Releasees") in
any circumstances, jointly and severally, either in or out of court, arbitration
or any law enforcement institution and other government institution,
pursuant to any applicable laws and regulations in Indonesia and/or any
other jurisdiction, including but not limited to Government Regulation of the
Republic of Indonesia No.40/1995 dated 17 November 1995 regarding Air
Transportation as amended by Government Regulation of the Republic of
Indonesia No.3 of 2000. Me

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Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 12 of 37 PagelD #:505

 

2. Without prejudice io the foregoing, the Releasor acknowledges and declares
that by executing this Release and Discharge, they have released, discharged
and forever renounced any claim for damages or compensation of any kind
whatsoever which the Releasor has or may have arising out of or in any way
related to the Accident against any person or entity anywhere in the world.

3. The Releasor agrees to indemnify and hold harmless the Releasees from and

" against all claims which may be made by any other party(-i¢s):claiming to be
the beneficiary(-ies) of the Passenger, or any other third: party, against any
one or more of the Releasees arising out of or in connection with the
Accident or this settlement or the payment made based on this Release and
Discharge.

4. Payment of the Severance Payment and Compensation shall not constitute an
acknowledgement of the Releasees!' fault and/or negligence, resulting in the
Accident,

5. In consideration of the payment aforesaid the Releasor assigns and transfers
all of their rights of claim against any parties arising out of the Accident to
AdamAir, its insurers and reinsurers who are subrogated to such rights.

6. The Releasor warrants that there is no other legal heir(s) or beneficiaries of
the Passenger and that the Releasor has not abandoned, assigned or
otherwise disposed of the Releasor' rights to.the estate of the Passenger.

7. The Releéasor is citizen of the Republic of Indonesia and is domiciled in

' Indonesia.

8. This Release and Discharge, its interpretation and implementation and all
consequences thereof shall be governed by and subject to the applicable laws
of the Republic of Indonesia.

9, Settlement of any disputes arising out of or based. on.or in connection with
this Release and. Discharge shall be resolved through a District Court in the
Republic of Indonesia.

10. In the event that any provision of this Release and Discharge should for any
reason be held to be invalid, illegal or unenforceable, the remainder of this
Release and Discharge. shall remain in full force and effect.

11. The Releasor in this matter is not legally represented by any lawyer(s) or
attorney(s).

12. This Release and Discharge sliall be irrevocable and is made under free will
without duress or compulsion from whomsoever.

13. This Release and Discharge is concurrently executed in the ‘Indonesian
language and in. English. Both versions are primary and authentic versions.
They are each to be. construed on a stand-alone basis.

14. This Release and Discharge has been read by us or read and explained to us
and we fully understand all the terms herein.

 

Semarang, 1 March 2007

   

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Mo

2. Emiliana Sri Muyekti

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fod fu

3. Yovita Indah Wahyuni

Ty yw
Sth

4. T. Singgil Wahyono

 
  

 

5. Andreas Sug} Wibowo

 

6. R. Sugeng Cahyono

7. Kristiana Hesti Cahyani

 

8. Hendricus Handono Warih

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9, Mardonius Dono Pradipto

Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 13 of 37 PagelD #:506

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 14 of 37 PagelD #:507

 

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10. Florentina Wari Handayani

Saksi pertama,

 

Saksi kedua,

[Iman Fauzi Rakhmat

ay
“We
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 15 of 37 PagelD #:508

 

LEGALIZATION
Number: . 3 copies

I, the undersigned below, Widhi Handoko, Sarjana Hukum, Notary in Semarang,

states hereby that I, Notary, have read and explained the content of this Statement of

Release and Discharge from Legal Responsibility ("Release and Discharge") to:-------
oneeee 1. Mr. Sigit Wahjodjatmiko, Indonesian citizen, Doctor, born in
Ambarawa, on 25 October 1944, -having his address at Bukit Negaliyan Permai
Blok L-4, Ngaliyan, Semarang, holder of ID Card No.: 11.5015.251044,0001 -
------2. Ms. Emiliana Sri Muyékti, Indonesian citizen, Private Employee, born
in Blora, 18 September 1950, having her address at Tirtoyoso 3-8, Rejosari,

_ Semarang Timur, Semarang, liolder of ID Card No.: 33,7403.580950.0001;----
anne 3. Ms. Yovita Indah Wahyuni, Indonesian citizen, Housewife, born in
Blora, on 3 July 1951, having her address at Jalan Maospati Buntu F 357, Beji,
Ungaran, Semarang, holder ef ID Card No.: 33.2214.430751.0005;--------------
wteeee 4. Mr. T. Singgih Wahyono, Indonesian citizen, Private Employee, born
in Blora, 2 March 1953, having his address at Jalan Karonsih Timur Gang
V/119, Ngaliyan, Semarang, holder of ID Card No.: 33.7415,020353.0001;~--
rowan 5. Mr. Andreas Sugih Wibowo, Indonesian citizen, Retiring Private
Employee, born in Blora, on 12 September 1954, having his address at Jalan
Srikaton Barat, Purwoyoso, Ngaliyan, Semarang, holder of ID Card. No.:
11,5015: 120954,0004; eee wee —
weer 6. Mr. R. Sugeng Cahyono, Indonesian. citizen, Private Employee, born in
Cepu, on 23 January 1957, having his address at Karonsih Timur 1X/322,
Ngaliyan, Semarang, holder of ID Card No.: 11.5015.230157.0001 Jromn rrr eeree
seems 7. Ms. Kristiana Hesti Cahiyani, Indonesian citizen, Civil Servant, born in
Semarang, on 14 November 1960, having her address at Tirtoyoso 3-8,
Rejosari, Semarang Timur, Semarang, holder of ID Card No:
33.7403.541 160.0001;
~-----8, Mr. Hendricus Handono Warih, Indonesian citizen, Private Employee,
born in Semarang, on 22 October 1962, having his address at Ikan Sepat 6/6,.
Perak Barat, Krembangan, Surabaya, holder of ID Card . No.:
12.5625,221062.0002;- a :
~~-~-9, Mr. Mardonius. Dono Pradipto, Indonesian citizen, Private Employee,
bor in Semarang, on 9 February 1965, having his address at Parang Barong |
No. 25, Telogosari Kulon, Pedurungan, Semarang, holder of ID Card No.:
13,.5006.090265.0001;
-----10. Ms. Florentina Wuri Handayani, Indonesian citizen, Housewife, born
in Semarang, on 16 February 1967, having her address at Tirtoyoso HI/8,
Rejosari, Semarang Timur, Semarang, holder of ID Card No.
33.7406.560267.0001;
ave 1]. Mr, Mirza Aswar Karim, Indonesian citizen, Private Employee, bern
in Jakarta on 4 October 1964, having his address at J]. Malang No. 14 RT. 007
RW. 007, Menteng, Jakarta Pusat, holder of ID Card No.:

09.5006.04 1064.0265; -. onetene nome em

 

 

 

 

 

 

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 16 of 37 PagelD #:509

----+ 12. Mr. Iman Fauzi Rakhmat, Indonesian citizen, Private Employee, born
in Bandung on 3] March 1978, having his address at Jl. Kampus III No. 4,
Babakan Sari, Kiaracondong, Bandung, pemegang KTP No.
1050093 103780001;
who have been introduced to me, Notary, and who have signed their signatures on this
Release and Discharge, before me, Notary, on this day, Thursday, 1 March 2007-------

 

 

 

Notary in Semarang------------~-++~

 

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 17 of 37 PagelD #:510

Exhibit E
United States District Court

For the Northern District of California

Case: 1:09-cv-0055

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Case Sbgov-BOseeISW ‘Bocument 1 3 021 roar aGbb8 ' Sha Gee'G 5 volt

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

JIMMY LENDO, No. C 09-00359 JSW

Plaintiff,
ORDER SETTING CASE
Vv. MANAGEMENT CONFERENCE AND
REQUIRING JOINT CASE
MANAGEMENT CONFERENCE
STATEMENT

WORLD STAR AVIATION,

Defendant.

TO ALL PARTIES AND COUNSEL OF RECORD:

The above matter having been reassigned to the Honorable Jeffrey S. White, it is hereby
ordered that, pursuant to Fed. R. Civ. P. 16(b) and Civil L. R. 16-10, a Case Management
Conference shall be held in this case on May 15, 2009, at 1:30 p.m., in Courtroom 11, 19th Floor,
Federal Building, 450 Golden Gate Avenue, San Francisco, California.

Plaintiff(s) shall serve copies of this Order immediately on all parties to this action, and on
any parties subsequently joined, in accordance with Fed. R. Civ. P. 4.and 5. Following service,
plaintiff(s) shall file with the Clerk of the Court a certificate reflecting such service, in accordance
with Civil L. R. 5-6(a).

The parties shall appear in person through lead counsel to discuss all items referred to in this
Order and with authority to enter stipulations, to make admissions and to agree to further scheduling
dates.

The parties shall file a joint case management statement no later than five (5) court days
prior to the conference. The joint case management statement shall address all of the topics set forth

in the Standing Order for All Judges of the Northern District of California - Contents of Joint Case

 
United States District Court

For the Northern District of California

Case 3:09-cv-00359-JSW ocument 12 iled O

Case: 1:09-cv-00556 Document § 35-2 Filed: 02/2 109 FAS abed! Sb 4 ea5 ID gol2

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Management Statement, which can be found on the Court’s website located at
http://www.cand.uscourts.gov. See N.D. Civ L.R. 16-9. If any one or more of the parties is
proceeding without counsel, the parties may file separate case management statements. Separate
statements my also address all of the topics set forth in the Standing Order referenced above. Any
request to reschedule the date of the conference shall be made in writing, and by stipulation if
possible, at least ten (10) calendar days before the date of the conference and must be based upon
good cause. In order to assist the Court in evaluating any need for disqualification or recusal, the
parties shall disclose to the Court the identities of any person, associations, firms, partnerships,
corporations or other entities known by the parties to have either (1) financial interest in the subject
matter at issue or in a party to the proceeding; or (2) any other kind of interest that could be
substantially affected by the outcome of the proceeding. If disclosure of non-party interested entities
or persons has already been made as required by Civil L. R. 3-16, the parties may simply reference
the pleading or document in which the disclosure was made. In this regard, counsel are referred to
the Court's Recusal Order posted on the Court website at the Judges Information link at
http://www.cand.uscourts.gov.

IT IS SO ORDERED.

Dated: February 13, 2009

 

JEFFREY S$ AVHITE
UNITED STATES DISTRICT JUDGE

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 20 of 37 PagelD #:513

STANDING ORDER FOR ALL JUDGES OF THE NORTHERN DISTRICT OF
CALIFORNIA

CONTENTS OF JOINT CASE MANAGEMENT STATEMENT

Commencing March 1, 2007, all judges of the Northern District of California will require the
identical information in Joint Case Management Statements filed pursuant to Civil Local Rule
16-9. The parties must include the following information in their statement which, except in
unusually complex cases, should not exceed ten pages:

1, Jurisdiction and Service: The basis for the court’s subject matter jurisdiction over
plaintiff's claims and defendant’s counterclaims, whether any issues exist regarding personal
jurisdiction or venue, whether any parties remain to be served, and, if any parties remain to be
served, a proposed deadline for service.

2. Facts: A brief chronology of the facts and a statement of the principal factual
issues in dispute.

3. Legal Issues: A brief statement, without extended legal argument, of the disputed points
of law, including reference to specific statutes and decisions.

4, Motions: All prior and pending motions, their current status, and any anticipated motions.

5. Amendment of Pleadings: The extent to which parties, claims, or defenses are expected to
be added or dismissed and a proposed deadline for amending the pleadings.

6. Evidence Preservation: Steps taken to preserve evidence relevant to the issues reasonably
evident in this action, including interdiction of any document-destruction program and any

ongoing erasures of e-mails, voice mails, and other electronically-recorded material.

7. Disclosures: Whether there has been full and timely compliance with the initial disclosure
requirements of Fed. R. Civ. P. 26 and a description of the disclosures made.

8. Discovery: Discovery taken to date, if any, the scope of anticipated discovery, any
proposed limitations or modifications of the discovery rules, and a proposed discovery plan
pursuant to Fed. R. Civ. P. 26(f).

9. Class Actions: If a class action, a proposal for how and when the class will be certified.

10. Related Cases: Any related cases or proceedings pending before another judge of this
court, or before another court or administrative body.

11. Relief: All relief sought through complaint or counterclaim, including the amount of any

-|-
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 21 of 37 PageID #:514

damages sought and a description of the bases on which damages are calculated. In addition, any
party from whom damages are sought must describe the bases on which it contends damages
should be calculated if liability is established.

12. Settlement and ADR: Prospects for settlement, ADR efforts to date, and a specific ADR
plan for the case, including compliance with ADR L.R. 3-5 and a description of key discovery or
motions necessary to position the parties to negotiate a resolution.

13. Consent to Magistrate Judge For All Purposes: Whether all parties will consent to have a
magistrate judge conduct all further proceedings including trial and entry of judgment.

14. Other References: Whether the case is suitable for reference to binding arbitration, a
special master, or the Judicial Panel on Multidistrict Litigation.

15. Narrowing of Issues: Issues that can be narrowed by agreement or by motion, suggestions
to expedite the presentation of evidence at trial (e.g., through summaries or stipulated facts), and
any request to bifurcate issues, claims, or defenses.

16. Expedited Schedule: Whether this is the type of case that can be handled on an expedited
basis with streamlined procedures.

17. Scheduling: Proposed dates for designation of experts, discovery cutoff, hearing of
dispositive motions, pretrial conference and trial.

18. Trial: Whether the case will be tried to a jury or to the court and the expected length of
the trial.

19. Disclosure of Non-party Interested Entities or Persons: Whether each party has filed the
“Certification of Interested Entities or Persons” required by Civil Local Rule 3-16. In addition,
each party must restate in the case management statement the contents of its certification by
identifying any persons, firms, partnerships, corporations (including parent corporations) or other
entities known by the party to have either: (i) a financial interest in the subject matter in
controversy or in a party to the proceeding; or (ii) any other kind of interest that could be
substantially affected by the outcome of the proceeding.

20. Such other matters as may facilitate the just, speedy and inexpensive disposition of this
matter.
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 22 of 37 PagelD #:515

Exhibit F
Case: 1:C&se-N0SE DOSUMenDecAMerki&ed: FURY OBTBZGWS oPAGPAGLID #:516

UNITED STATES DISTRICT COURT
FOR THE Northern District of Illinois - CM/ECF LIVE, Ver 3.2.2
Eastern Division

Sumini, et al.
Plaintiff,
V. Case No.: 1:09-cv—00549
Honorable Samuel Der—Yeghiayan
Boeing Co., et al.
Defendant.

 

NOTIFICATION OF DOCKET ENTRY

This docket entry was made by the Clerk on Tuesday, February 3, 2009:

MINUTE entry before the Honorable Samuel Der~Yeghiayan: Initial status
hearing set for 02/26/09 at 9:00 a.m. At least four working days before the initial status
hearing, the parties shall conduct a FRCP 26(f) conference and file a joint written Initial
Status Report, not to exceed five pages in length, and file the Court's Joint Jurisdictional
Status Report and deliver courtesy copies to this Court's chambers. The Court's standing
orders on the Initial Status Report and Joint Jurisdictional Status Report maybe obtained
from Judge Der—Yeghiayan's web page or from this Court's Courtroom Deputy. Mailed
notice (mw, )

ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
Case: 1M Rsevi MSs66-ObaciQneDdtusbentfated: Ciled 02/02(g00M ofPagedceflid #:517

UNITED STATES DISTRICT COURT
FOR THE Northern District of Illinois - CM/ECF LIVE, Ver 3.2.2
Eastern Division

Sumini, et al.
Plaintiff,
Vv. Case No.: 1:09-—cv—00549
Honorable Samuel Der-Yeghiayan

Boeing Co., et al.
Defendant.

 

NOTIFICATION OF DOCKET ENTRY

This docket entry was made by the Clerk on Monday, February 9, 2009:

MINUTE entry before the Honorable Samuel Der~Yeghiayan: Defendants motion
for an extension of time to answer or otherwise plead [19] is granted. All Defendants must
answer or otherwise plead by 3/4/09. Status set for 2/26/2009 is stricken. Status continued
for 3/18/09 at 9:00. Mailed notice(tlp, )

ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 25 of 37 PagelD #:518

 

 

 

JUDGE SAMUEL DER-YEGHIAYAN
219 s. Dearborn Street
Chicago, IL 60604

Courtroom: 1903 Telephone: (312) 435-5675
Chambers: 1988 Web Site: www.ilnd.uscourts.gov

Courtroom Deputy - Michael Wing
Room 1906
(312) 408-5075

INITIAL STATUS REPORT
ORDER

For cases assigned to the calendar of Judge Samuel Der-Yeghiayan, the parties are
required to file and deliver a courtesy copy to chambers of the parties’ joint initial status report at
least 4 business days before the initial status. The joint status report should identify the attorneys
of record for each party, including the lead trial attorney and should address the following in
numeric order:

1) Nature of claims and counterclaims
2) Relief sought by plaintiff

3) Names of parties not served

4) Principal legal issues

5) Principal factual issues

6) List of pending motions and brief summary of bases for motions

 

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 26 of 37 PagelD #:519

 

 

7) Description of discovery requested and exchanged

8) Type of discovery needed

9) Proposed dates for: Rule 26(a)(1) disclosures, fact discovery completion, expert
discovery completion (including dates for the delivery of expert reports), filing of
dispositive motions, filing of a final pretrial order

10) Estimation of when the case will be ready for trial

11) Probable length of trial

12) Whether a request has been made for a jury trial

13) Whether there have been settlement discussions and if so the outcome of those
discussions

14) Whether the parties consent to proceed before a Magistrate Judge

Samuel Der-YeghiayaY “ ~
United States District Court Judge

 

 

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 27 of 37 PagelD #:520

 

 

 

JUDGE SAMUEL DER-YEGHIAYAN
219 S. Dearborn Street
Chicago, IL 60604

Courtroom 1903 Telephone: (312) 435-5675
Chambers 1988 Web Site: http://www.ilnd.uscourts.gov

Courtroom Deputy - Michael Wing
Room 1906
(312) 408-5075

JOINT JURISDICTIONAL STATUS REPORT
(For Removal Cases)

ORDER

The “first duty in every case” in federal district court for a judge is to
“independently” determine whether or not the court has subject matter jurisdiction.
Belleville Catering Co. v. Champaign Market Place, L.L.C., 350 F.3d 691, 692-94 (7"
Cir. 2003)(criticizing judge for accepting jurisdictional allegations at “face value” and
remanding case for dismissal for lack ofjurisdiction after a jury trial was held by court).
We order the parties to confer and file a Joint Jurisdictional Status Report.

THE JOINT JURISDICTIONAL STATUS REPORT IS FOR
INFORMATIONAL PURPOSES TO INFORM THE COURT OF THE
PARTIES’ POSITION AS TO WHY THE COURT HAS SUBJECT MATTER
JURISDICTION. IF PLAINTIFF INTENDS TO CONTEST SUBJECT MATTER
JURISDICTION, THEN THE PARTIES NEED NOT FILE A JOINT
JURISDICTIONAL STATUS REPORT. INSTEAD, PLAINTIFF SHOULD FILE
AN APPROPRIATE MOTION, SUCH AS A MOTION TO REMAND, BY THE
DEADLINE SET FOR THE FILING OF THE JOINT JURISDICTIONAL
STATUS REPORT. THE REPORT IS NOT THE PROPER AVENUE TO
CONTEST SUBJECT MATTER JURISDICTION.

 

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 28 of 37 PagelD #:521

 

 

The Joint Jurisdictional Status Report should be signed by counsel for all parties.
The report should contain two sections. The first section should be entitled “I. Subject
Matter Jurisdiction.” The parties should not feel obligated to spend unnecessary time
preparing the report and thus we note that ifthe parties are seeking jurisdiction pursuant
to federal question jurisdiction then the first section may be concise. However for suits
brought pursuant to diversity jurisdiction the report should provide a detailed
explanation of why this court has subject matter jurisdiction and attach supporting
documentation to support allegations concerning topics such as state of citizenship, state
of incorporation, principal place of business, and amount in controversy. The
documentation need not include original documents and copies will suffice. In addition
to the supporting documentation, the parties should attach affidavits to support all the
jurisdictional requirements. The parties should ensure that the jurisdictional allegations
and supporting documentation reference the time periods associated to each allegation.
For example, rather than stating that “Mr. Smith is or was a citizen of Illinois,” the
parties should specify the time period that Mr. Smith was or has been a citizen of
Illinois. Rather than stating that “Smith Company’s principal place of business is or
was in Chicago, Illinois,” the parties should state the time period during which Smith
Company’s principal place of business was or has been in IIlinois.

The second section of the report should contain a section entitled “IL Venue
(Plaintiff's Position).” The section should be prepared solely by the Plaintiff and will
be considered by the court to be representations made solely by Plaintiff and the
representations will not be deemed to be admitted by Defendant. The section should
include a detailed explanation of why venue is appropriate in this district and division
and attach supporting affidavits. As with section one of the report, Plaintiff should
make sure that all allegations make reference to the pertinent time periods. This section
is not intended to resolve the venue issue and Plaintiff is free to file a motion to transfer
if Plaintiff so desires.

If the Joint Jurisdictional Status Report fails to address the relevant issues with
the reguired_ specificity or fails to include sufficient supporting documentation the

parties will be ordered to submit a new report.

Sorrel De Bhay—

Samuel Der-Yeghiayan ee”
United States District Court Judge

 

 

 
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 29 of 37 PagelD #:522

Exhibit G
Case: BOQery-6OSRG08Rs™eDbYUARRt BUG: RAE RzeAIND? OPagPeaelP #:523

UNITED STATES DISTRICT COURT
FOR THE Northern District of Illinois - CM/ECF LIVE, Ver 3.2.2
Eastern Division

Frans Errain Wuisan, et al.
Plaintiff,
Vv. Case No.: 1:09-cv—00556
Honorable Marvin E. Aspen
The Boeing Company, et al.
Defendant.

 

NOTIFICATION OF DOCKET ENTRY

This docket entry was made by the Clerk on Thursday, February 26, 2009:

MINUTE entry before the Honorable Marvin E. Aspen:The Status hearing set for
4/9/09 is reset to 4/30/2009 at 10:30 AM. Judicial staff mailed notice(gl, )

ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
Judge WRN? -RYpeh PaSeRMMA*: 35-2 Filed: 02/27/09 Page 31 of 37 Page|DPage2Hof 1

 
 
   
   
   

Judge Staff

Courtroom Deputy

Gladys Lugo
(312) 435-5605
Room 2516-A

Law Clerk
Betsy Cammarata

Law Clerk
Melissa Whitehead

Secretary
Linda Surprenant
(312) 435-5696

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United States District Court
NORTHERN DISTRICT.OF LLINOIS

 

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Judge Marvin E. Aspen

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Courtroom 2568
Telephone Numbei
Fax Numbe:

 

Important Information

The information on this and linked pages
contains important information about my
pretrial case management procedures. Please
take the time to read it carefully.

These policies and rules have been designed
to facilitate the prompt, efficient and equitable
disposition of civil cases on my docket. The
success of this court's trial procedures
depends on your willingness to familiarize
yourself with these materials and to act
accordingly. Counsel will be expected to fully
explain to the court any failure fo comply with
the court's pretrial procedures.

Motion Schedule

Motion Type: Civ. & Crim.
Day: Tu, Th
Time: 10:30 a.m.

Courtroom: 2568
Telephone: (312) 435-5650

No. of Days Notice: 2

£3 View All Motion Schedule

Case Management Proced

Procedures to be followed in Cas
Marvin E. Aspen

initial Status Conference
Scheduling and Settlement Cor

Mation Practice

 

Discovery. Motions

Consent to Proceed Before a V
Judge

Bankruptcy Appeals

Short Civil Trial Calendar

Submitting a Proposed Order, /
Otherwise, for Electronic Entry

 

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timeliness, or completeness of this information. Neither is it intended to endorse any view expressed nor reflect its importance by inclusion in th
site.

http://www. ilnd.uscourts.gov/home/JudgeInfo.aspx 2/26/2009
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4 United States District Court
NORTHERN DISTRICT OF ILLINOIS

 

Initial Status Conference

The court will set cases for status within 45 days of the filing of the complaint. At the initial
status conference the parties will:

1) inform the court of the nature and scope of the case,
2) identify settlement opportunities,

3) set the initial discovery parameters, and
4) schedule future conferences and, when necessary, motions. The court will set discovery

and pretrial order deadlines at the time of the initial status.

 

Note: The court does not contro! nor can it guarantee the accuracy, relevance, timeliness, or completeness of
this information. Neither is it intended to endorse any view expressed nor reflect its importance by inclusion in

this site.

#OMPID399

http://www.ilnd.uscourts.gov/home/PrintContent.aspx?type=cmp&id=399 2/26/2009
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 33 of 37 PagelD #:526

Exhibit H
snnmaCAS®: HQR:0 QO5SE Dopument # 95-2 Glec: Ga/27/p Bag 4 ob a7 Pagplp #527

United States District Court, Northern District of Illinois

 

 

 

 

 

Name of Assigned Judge John F. Grady Sing Jags f ter
CASE NUMBER 07 C 250 DATE 12/12/2007
CASE Adiputra vs. The Boeing Company
TITLE

 

 

DOCKET ENTRY TEXT

 

Hearing held on defendant The Boeing Company motion for stay of discovery deadlines held. The Boeing
Company’s motion for stay of discovery deadlines is granted without objections. This case is stayed pending

the ruling on The Boeing Company’s proposed motion on MDL consolidation. Status hearing set for 2/20/08
at 10:30 a.m.

Docketing to mail notices,

 

 

 

00:10

 

Courtroom Deputy JD
Initials:

 

 

 

 

07C250 Adiputra vs. The Boeing Company Page 1 of 1
Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 35 of 37 PagelD #:528

Exhibit I
 

Case: 1:09-cv-00556 Document #2522 Filed: 02/27/09 Rage-36 of 37 RagelD 4629 ——__-_—_—

 

 

1 _THE HONORABLE THOMAS §. ZILLY
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5 TAT UE 0H nt ‘1m TU
7 «EUSTON AAT WT A
8 :
9 . 07-CV-01907-BOND
H | . ae
12 ,
13 UNITED STATES DISTRICT COURT
" _ WESTERN DISTRICT OF WASHINGTON
i IDRA LAKSONO, et al., | No. 2:07 --01907-18Z
1 ;
19 ‘Plaintiffs, :ORDER GRANTING
20 : | MOTION OF DEFENDANT THE BOEING
21 Vv. 7 COMPANY FOR STAY OF DEADLINES |
22 AND PROCEEDINGS
23 THE BOEING COMPANY, et al.,
24
25 . Defendants.
26
27
28
30 This matter came before the Court on the motion of defendant The Boeing Company _
2 (“Boeing”) for Stay of Deadlines and Procesdings. ,
4 . The Court has reviewed Boeing’s motion, the supporting Declaration of Allison
* Kendrick, plaintiffs’ response and Bocing’s reply. Having reviewed these materials, the Court
37

38 hereby GRANTS the motion and ORDERS that all proceedings and obligations in this case are
40 | stayed (including all deadlines in the Court’s December 12, 2007 Order Regarding Initial
42 Disclosures, Joint Status Report, and Early Settlement), until the Judicial Panel on Multidistrict

44 | Litigation has ruled on Aon Cae s Motion to Transfer and Consolidate ah ark aco,
45 Co\ds, a wa Cand .

 

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48 DATED this _Y Vay of re
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| S207
‘ . ; _ Hon. Thomas S. Zilly ~
ROPOSED ORDER ca Cole ue
i 2:07- EV-01907-T8Z) ~ 1. 1201 Third Avenue, Suite 4800

 

~

Seattle, WA 98101-3099
Phone: 206.359.8000
Fax: 206.359.9000

 

 
 

Case: 1:09-cv-00556 Document #: 35-2 Filed: 02/27/09 Page 37 of 37 PagelD #:530

Presented By:
PERKINS COIE LLP |

By s/ Allison Kendrick
’ Keith Gerrard
10 Allison Kendrick .
11: | Perkins Coie LLP
12 1201 Third Avenue
13 Suite 4800
14 | Seattle, WA 98101
Attorneys for defendant The Boeing Company

Wwe tWatu hb vty —

, . Perkins Coie Lup
[PROPOSED] ORDER i201 Third Avenue, Suits 4800
NO, 2:07-CV-01907-TSZ) — 2 Seattle, WA 93101-3099
: Phone: 206.359.8000
Fax: 206.359.9000

 

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